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¢;.i@;'~iq::;v¢ NARYLAND
IN THE UNITED STATES _DISTRICT COURT
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HSRB§HYHHEASTERN Nr RPRISES, NC §
Plain!aZPuTY )
V_ § Civil Action No. MJG-O7-1822

)

CHARLES W. TURNBAUGH, in his official )
capacity as Connnissioner of the Division of )
Financial Regulation of the Maiyland )
Department of Labor, Licensing and Regulation )
)

Defendanl. )

FINAL JUDGMENT

This matter having come before the Court on plaintiff H&R Block Eastern Enterprises,
lnc.’s Motion for Partial Sunnnary Judgment (Dkt. No. 21), defendant Commissioner Charles W.
Turnbaugh’s Cross-Motion for Suinmary Judgnient (Dkt. No. 22), and the paities’ Stipulation Of
Dislnissal as to Count l (Dl<t. No. 28), the Court hereby enters final judgment as follows:

lT IS ORDERED, ADJUDGED, AND DECREED that Count I of the Complaint is
dismissed without prejudice and with each side to bear its own costs.

IT IS FURTHER ORDERED_, ADJUDGED, AND DECREED that Counts II and Ill of
the Complaint are adjudicated as follows for the reasons set forth in the Coult’s Memoranduin
Decision dated July 29, 2008 (Dkt. No. 27):

l,. It is DECLARED AND AJDUDGED that the following provisions of the
Maryland Credit Services Business Act, Md. Code Ann., Corn. Law, §§ 14-1901
et seq. are preempted by the National Bank Act, 12 U.S.C. §§ 21 et seq., and
regulations of the Off`ice of the Comptroller of the Currency:

a. Section 14-1902(8) (interest rate prohibition),

b. Section l4-1906(a)(l) (three-day rescission period), and

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C.

Section l4-l906(b) (rescission “without penalty or obligation”).

2. It is DECLARED AND ADJUDGED that the following provisions of the
l\/lai'yland Credit Services Business Act, Md. Code Ann., Com. Law, §§ 14-1901
et seq. are not preempted by the National Bank Act, 12 U.S.C. §§ 21 et Seq. and
regulations of the Office of the Comptroller of the Currency:

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b.

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f.

Section 14-1904 (separate disclosure statement),
Section l4-l905 (disclosure requirements),
Section l4-l906 (separate written contract),
Section 14-1903(b) (licensing requirement),
Section l4-l,908 (surety bond requirement), and

Section 14-1911 (investigative powers).

IT IS FURTHER ORDERED, ADJUDGED_, AND DECREED that the Commissioner Of

the Division of Financial Regulation of the Maryland Department of Labor, Licensing and

Regulation is permanently enjoined from enforcing as to H&R Block Eastern Enterprises, lnc.

only those provisions of the Maryland Credit Services Businesses, Act, Md. Code Ann. Com.

Law, §§ 14-1901 et seq. that were declared preempted in paragraph 1 above for the reasons set

forth in the Court’s Memorandum Decision dated July 29, 2008 (Dkt. No. 27).

September

so oRDERED thisZLiday Or>emgm, 2008.

/ S /
UNITED STATES DISTRICT JUDGE
MARVIN J. GARBIS

 

